Case 3:18-cv-01630-RNC Document 7 Filed 10/15/18 Page 1 of 2

]oseph L.A. Felner ]r.
Connecticut State Marshal
Fairfield County
P.O.Box 596
Fairfield, CT 06824 Cell Phone
(203)209-0430

STATE OF CONNECTICUT
ss; Fairfield pate ; October 9, 2018
COUNTY OF FAIRFIELD

Then and there, by virtue hereof and by special direction of the plaintiffs' attorney,
l made service of the Within and foregoing original Surnmons In A Civil Case,
Case Number: 3:18-CV-01630~»RNC, Collective Action And Class Action
Complaint, Civil Cover Sheet, Order On Pretrial Deadlines, Electronic Filing
Order, Standing Protective Order, Exhibit A, Notice To Counsel And Pro Se
Parties, Order Re: Disclosure Statement, and Tips For Successful CM/ECF Efiling
by leaving a true and attested copy for Total Look Salon & AMP; SPA et al at the
usual place of abode of Cher Anderson (President/Treasurer), 10 Anvil Road,
Southport, CT.

I then made service of the within and foregoing original by leaving a true and
attested copy for Cher Anderson (lndividually) at the usual place of abode 10
Anvil Road, Southport, CT.

COUNTY OF FAIRFIELD Ss; Fairfield bare : OC’cOb€r 11, 2018

l then made service of the Within and foregoing original by leaving a true and
attested copy for Pamela Dvorak (Secretary) at the usual place of abode 25 Rocl<
Ridge Road, Shelton, Ct.

Case 3:18-cv-01630-RNC Document 7 Filed 10/15/18 Page 2 of 2

The Within and foregoing is the original Summons In A Civil Case, Case Number:
3:18-CV-01411-MPS, Complaint, Prayer for Relief, United State District Court
District Of Connecticut Order On Pretrial Deadlines, Electronic Filing Order in
Civil Cases, Standing Protective Order, Exhibit A, Notice To Counsel And Pro Se
Parties, Order Re: Disclosure Statement, and Tips For Successful CM/ECF Efiling
With my doings thereon endorsed

  

 

\\z\

ATTEST : / ` /1
/t. /
Fees: %4 joseph L.A. Felner ]r.
Service Fee $ 100.00 Connecticut State Marshal
Travel 189.05 Fairfield County
Verified Copies 105.00
Endorsernent 5.20

 

Total $ 399.25

